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                                   UNITED STATES BANKRUPTCY COURT
                                  WESTERN DISTRICT OF NORTH CAROLINA
                                          CHARLOTTE DIVISION

In Re:                                                                      Case No. 13-31231
Stephen Wayne Lillard
                                                                            Chapter 13
SSN# : XXX-XX-9100


                                 CHAPTER 13 FINAL REPORT AND ACCOUNT
                                              COMPLETED

This Case was                                                                        The Plan was
Commenced on 6/4/2013                                                                Confirmed on 8/2/2013

The Trustee has maintained a detailed record of all receipts, including the source or other identification of
each receipt, and of all disbursements, and they are incorporated by reference in this report.

RECEIPTS: Amounts paid to Trustee by or for the Debtor for the benefit of Creditors: $49,500.00

                                             Plan Base = $49,500.00

                                    CLAIMS AND DISTRIBUTIONS TO DATE

 Trustee    Clerk                  Payee                         Class              Claim       Principal    Interest
 Claim #   Claim #                                                                 Amount         Paid         Paid
  TTE                TRUSTEE COMPENSATION                                            1,818.93    1,818.93
    0                Stephen Wayne Lillard            DEBTOR REFUND                      0.00         0.00       0.00
    0                DANIELLE J BRUDI                 ATTORNEY FEE                       0.00         0.00       0.00
    1                DANIELLE J BRUDI                 B-Base Attorney Fee(s)           993.00       993.00       0.00
    2                DANIELLE J BRUDI                 B-Base Attorney Fee(s)           672.00       672.00       0.00
    5        1       SUNTRUST BANK                    C-Car /Other (910/365)        33,566.06   33,566.06    4,614.17
    3        4       CENTRAL MORTGAGE COMPANY         M-Mortgage                         0.00         0.00       0.00
    4                GREEN TREE SERVICING             M-Mortgage                         0.00         0.00       0.00
    53       4       CENTRAL MORTGAGE COMPANY         N-Mortgage/Lease Arrears           0.00         0.00       0.00
    6                ALLY FINANCIAL                   U-Unsecured                        0.00         0.00       0.00
    7                CHASE AUTOMOTIVE                 U-Unsecured                        0.00         0.00       0.00
    8        6       PORTFOLIO RECOVERY ASSOCIATES LLCU-Unsecured                   20,295.26    2,760.65        0.00
    9                CHASE                            U-Unsecured                        0.00         0.00       0.00
    10               CITIBANK                         U-Unsecured                        0.00         0.00       0.00
    11               CITIBANK                         U-Unsecured                        0.00         0.00       0.00
    12       7       CITIBANK NA                      U-Unsecured                        0.00         0.00       0.00
    13               CITI BANK                        U-Unsecured                        0.00         0.00       0.00
    14               CITI BANK                        U-Unsecured                        0.00         0.00       0.00
    15               DELAWARE PLACE BANK              U-Unsecured                        0.00         0.00       0.00
    16               DELAWARE PLACE BANK              U-Unsecured                        0.00         0.00       0.00
    17       2       FIFTH THIRD BANK                 U-Unsecured                   16,636.50    2,262.98        0.00
    18       3       FIFTH THIRD BANK                 U-Unsecured                    3,012.60       409.80       0.00
    19               FIFTH THIRD BANK                 U-Unsecured                        0.00         0.00       0.00
    20               FIFTH THIRD BANK                 U-Unsecured                        0.00         0.00       0.00
    21               FIFTH THIRD BANK                 U-Unsecured                        0.00         0.00       0.00
    22               FIFTH THIRD BANK CARD CENTER     U-Unsecured                        0.00         0.00       0.00
    23               FORD MOTOR CREDITC/O CORRESPONDENCE
                                                      U-Unsecured                        0.00         0.00       0.00
    24               GE MONEY BANK                    U-Unsecured                        0.00         0.00       0.00
    25               GE MONEY BANK                    U-Unsecured                        0.00         0.00       0.00
    26               GMAC MORTGAGE LLC                U-Unsecured                        0.00         0.00       0.00
    27               GMAC MORTGAGE LLC                U-Unsecured                        0.00         0.00       0.00
    28               GMAC MORTGAGE LLC                U-Unsecured                        0.00         0.00       0.00
    29               GMA/ALLY FINANCIAL               U-Unsecured                        0.00         0.00       0.00
    30               HSBC                             U-Unsecured                        0.00         0.00       0.00
    31               HSBC NORTH AMERICA               U-Unsecured                        0.00         0.00       0.00
    32               KIA FINANCIAL                    U-Unsecured                        0.00         0.00       0.00
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                                                                                           Case No. 13-31231 Lillard

 Trustee    Clerk                  Payee                          Class            Claim        Principal  Interest
 Claim #   Claim #                                                                Amount          Paid       Paid
  TTE                TRUSTEE COMPENSATION                                           1,818.93     1,818.93
    33               PEOPLES UNITED BANK                 U-Unsecured                    0.00          0.00      0.00
    34               PEOPLES UNITED BANK                 U-Unsecured                    0.00          0.00      0.00
    35               PEOPLES UNITED BANK                 U-Unsecured                    0.00          0.00      0.00
    36               PEOPLES UNITED BANK                 U-Unsecured                    0.00          0.00      0.00
    37               PNC BANK                            U-Unsecured                    0.00          0.00      0.00
    38               RBS CITIZENS NATIONAL ASSOCIATION   U-Unsecured                    0.00          0.00      0.00
    39               TARGET                              U-Unsecured                    0.00          0.00      0.00
    40               TCF BANK                            U-Unsecured                    0.00          0.00      0.00
    41               TCF BANK                            U-Unsecured                    0.00          0.00      0.00
    42               TD AUTO FINANCE                     U-Unsecured                    0.00          0.00      0.00
    43               US BANK                             U-Unsecured                    0.00          0.00      0.00
    44       5       PRA RECEIVABLES MANAGEMENT LLC      U-Unsecured               17,661.67     2,402.41       0.00
    45               US BANK                             U-Unsecured                    0.00          0.00      0.00
    46               US BANK                             U-Unsecured                    0.00          0.00      0.00
    47               WEB BANK                            U-Unsecured                    0.00          0.00      0.00
    48               WEB BANK                            U-Unsecured                    0.00          0.00      0.00
    49               WORLD OMNI FINANCIAL                U-Unsecured                    0.00          0.00      0.00
    50               ASHTON RESERVE                      V-Vehicle/Other Leases         0.00          0.00      0.00
    51               SPRINT                              V-Vehicle/Other Leases         0.00          0.00      0.00
    52               ALISON R LILLARD                    Z-Notice Only                  0.00          0.00      0.00
    54               STEPHEN WAYNE LILLARD               Z-Notice Only                  0.00          0.00      0.00
                                                                     Totals       $94,656.02   $44,885.83 $4,614.17


WHEREFORE, your Petitioner prays that a Final Decree be entered discharging Warren L. Tadlock as
Trustee and releasing Warren L. Tadlock and his surety from any and all liability on account of these
proceedings, and for such other and further relief as is just.

Dated: 9/10/2018                                             Warren L. Tadlock, Standing Chapter 13 Trustee
                                                             5970 Fairview Road, Suite 650
                                                             Charlotte, NC 28210-2100
                                                             (704) 372-9650

                                           CERTIFICATE OF SERVICE

The parties whose names and addresses are listed below were served by United States first class mail,
postage prepaid on 9/10/2018.

                                                                                     L. Long
                                                                                     Office of the Chapter 13 Trustee

Stephen Wayne Lillard, 16338 Cardross Ln., Huntersville, NC 28078
BANKRUPTCY ADMINISTRATOR, 402 WEST TRADE STREET SUITE 200, CHARLOTTE, NC 28202
